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               IN THE LTNITED STATES DISTRICT COURT FOR THE
                      NORTHERN DISTRICT OF FLORIDA
                           TALLAHASSE,E DIVISION

LINITED STATES OF AMERICA

V                                              4:18CR76-RH

JOHN THOMAS BURNETTE


    DEFENDANT'S SEALBD REPLY TO GOVERNMENT'S SEALED
    OPPOSITION TO DEFENDANT'S OMNIBUS MOTION IN LIMI]VE

      Defendant John Thomas Burnette,         by and through undersigned           counsel,

submits this reply to the Government's Sealed Opposition to Defendant's Omnibus

Motion In Limine (the "Opposition") [Doc. No. 359], and states      as   follows

      l.       In the Opposition, the Government argues that Burnette withdrew his

stipulation to certain exhibits without appropriate notice.

      2.       Burnette and the Government previously stipulated         to   hundreds   of

exhibits in or around October 5,2020

      3.       Over the past eight (8) months, Burnette and the Government have

discussed many exhibits, including      the three at issue. Notwithstanding the

stipulation,   ofl   November 27, 2020, counsel        for    Burnette recognized        an

authentication issue, as well as other issues, with Exhibits 201 ,206, and207, and

raised the issues with the Government. On December 4, 2020, the Government

countered that Exhibits 201 and 206 were downloaded from
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    Redacted            account and neither exhibit purports to be an exhaustive list            of

text communications between              Redacted
       4.      During trial preparation, counsel for Burnette realized that the three

(3) exhibits remained on the Government's list without any additional information

to allow counsel for Burnette to authenticate the compilations of text                  messages

While Burnette had not formally withdrawn his stipulation to Exhibits 201,206

and 207 in November 2020, counsel for Burnette did put the Government on notice

that they had issues with those exhibits.

       5.      By filing the Defendant's Omnibus Motion In Limine, Burnette                    was

not attempting to gain an unfair advantage by objecting to three out of
approximately 240 Government exhibits to which he had previously stipulated.r

However, while preparing for trial, counsel for Burnette inadvertently failed to

inform the Government of its intention to withdraw its stipulation to those three (3)

exhibits before filing the Motion

       6.      Defense counsel has attempted            to resolve the issue by contacting
Government lead counsel, Peter Nothstein,                  by telephone, text and e-mail.

I In retaliation for objecting to these three (3) exhibits, the Government now refuses to stipulate
to any transcripts despite its previous representations on February 17, 2021, that the paties had
reached an agreement on the accuracy of all of the transcripts, except for three. Add itionally, the
Government is now refusing to stipulate to the accuracy of or the applicability of the business or
public record hearsay exception to any additional exhibits that post-date the October 5, 2020
stipulations. The Government's gamesmanship is further reflected by the Government's failure
to disclose any Jencks material from the agents that would rescind their prior agreements to the
accllracy of the defense transcripts.


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Mr. Nothstein explained that the Government is unwilling to discuss the matter

further and would not be willing to stipulate with the defense in the future


Dated: June 22.2021                      Respectfully submitted,


                                         /s/ Gresorv W. Kehoe
                                         Gregory W. Kehoe
                                         Florida Bar No. 0486140
                                         kehoeg@, gtlaw.com
                                         Jordan L. Behlman
                                         Florida Bar No. I11359
                                         behlmanj@gtlaw.com
                                         Greenberg Traurig, P.A.
                                          101 East Kennedy Blvd., Suite 1900
                                         Tampa, FL 33602
                                         Telephone: (8 1 3) 3 1 8-5700
                                         Facsimile: (813) 3 1 8-5900

                                         R. Timothy Jansen
                                         Florida Bar No. 0691208
                                          i ansen@i ans e nand   d   avi   s. c   om
                                          Jansen & Davis, P.A.
                                          125 N Franklin Blvd.
                                          Tallahassee, FL 32301
                                         Telephone: (850) 224-1440
                                         Facsimile: (850) 224-0381

                                         Adam Komisar
                                         Florida Bar No. 86047
                                         adam@komis arsoicola.com
                                         PO Box 664
                                         Tallahassee, FL 32302
                                         Telephone: (850) 591-7 466
                                         Facsimile: (850) 320-6592

                                          Michael Ufferman
                                          Florida Bar No. 114227


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                               ufferm   an   @uffermanlaw.   c   om
                               Michael Ufferman Law Firm, P.A.
                               2022-1 Raymond Diehl Road
                               Tallahassee, FL 32308
                               Telephone: (850) 368-2345
                               Facsimile: (850) 224-2340


                               Counsel   for Defendant John           Thomas
                               Burnette




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                             LOCAL RULE 7.1G) CERTIFICATE

         I certify that this paper contains 455 words, per Microsoft             Word's word

count, which complies with the word             limit requirements set forth in Local Rule

7.1(F)

                                                     /s/ Gregory W. Kehoe
                                                       Attorney


                              CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 22nd day of June, 2027,I                  electronically

filed the foregoing with the Clerk of the Court by using the CM/ECF                    system,

which    will   send a notice of electronic   filing to all counsel of record.


                                                     /s/ Greoorv W
                                                       Attorney




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